            Case: 1:15-cv-10240 Document #: 7 Filed: 01/29/16 Page 1 of 7 PageID #:30

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     Itt [,Xtll, /nt r/,rdnf, no/ tr, ntttr/rttt Ttrcut/, !', Jup,rc^c /nt/, ltfintlrr,r/t /r/,,ttt/ ln,1t,p
     o/ l,t rr4A/s h,,li ttat'nal/r sa/c/71 I lt) tonlnr_^/ ,n ,tdrt tuvs/,/,rr,r; a*,r/ il U ,+r,
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      Case: 1:15-cv-10240 Document #: 7 Filed: 01/29/16 Page 2 of 7 PageID #:31




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f,/lrnots.
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h,/ otut// -rt a,1n,o/ tml a/n,nut,thve retpau"s,b,l,hcl /eqo*/r,rh lhc ,/o',/X -''-'"
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rty' !/t/t,t,//t. /tX^t,// stttt //rwtfi,a /t,5 ri/,u,a/,ta/              *l )li,ri /rprriil,lO
         8.   bc/Lolu/    John,tou wat, al a// h,nt,t rt/eoa*l h /rt,, /'r-p/au^/, il,c lt,,tl'
/lr)a,n/ena.nrt 0//,cer &*tr/ /,t+ cny/arcc w lmfylafi,y t/ #alcur//e, Jolrtn /rar/ owa//
moaaJenal d.-,/ l/rn,o,ufualrc ,r$^S-,6,/,/tts /(,ftwi/t,tq ma,rfeuau(/ a/,ffurhu,//e,
/Ur^%// JrrcS Jaltnstim ln hts ,ort,r)rloJ d.*i/ o//rt,la( t$t,tilcr,
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lorr/zhwraf /,c,rh"o*l      *ri    ltup/aflc€, 0,, 7(/vth-adhv        Al Jla/eur//e Ai,,,nart               hu/ ua,tdJaL/




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        Case: 1:15-cv-10240 Document #: 7 Filed: 01/29/16 Page 3 of 7 PageID #:32


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LrltVnct/, //oon/,// grtr l)unmttJ rn y'tt!
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t ts1o,nst6,/,hes rto4tr,/,,X              /n,fi    ,r1ou*hu,s     o/
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fiaoorleua,nu. //oLr*P -r.au b"oe ,n Ats tnrl,r,/ua/ tayatrfi.
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&*/ rchrmX rb arupl t^//ov ;*"fb ur/A rt ft/f lgtrrn   a
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                                                                              y'l,,s tawV/ncuf //,r,,c t ctc
             Aal /tv p/t////u//f rn 7/atc d/ J'/a/fr,//e lha/ ysX,,,rrr/ y'le rztu,,,h r*/i n S/,ake-
'7o/rcrtt
  r/oun / /, t,t sc/t/tA,/^spul
  r/ttrr,/,t.,                     ,$r /n/vaba.l,
                 Stlt/rA,/un5'pasl r$r tau/raba"l, sa/"fi/sero),rfi
                                                    Sa/rh / Selu;tl4 hazat/5,     t/r1. o
                                                                      hazarls. e/el,    O )c// p,.rw fi
                                                                                           h// V,.,w   t
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          rf.        //a.u"lk noved his Ver,rma/ Vopor/u1.rnh rct/ /-gZ{/ lt )o/,7a11 lt,t
                    t/h,/o
,re/a / lo//s oro/r,77/rrtq /irnn //u au// rnrrtL oy' /Ad tt/, a,^i/ lt rm,t,tt/ra4fi A/etlzr/ /Az
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        Case: 1:15-cv-10240 Document #: 7 Filed: 01/29/16 Page 4 of 7 PageID #:33




          /t?    /,.,0,     fr /oclor,5 //rtuo,/,#' utir/e ty'' fltc fc/i, //,c
                                                                                X,,/h;n o//rttt r/rtia//q
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                          Vrolur/,r,q- bo//1, [L^,/ S/r,lr,/ /hdt /tc t,totr/,/ rm,ntt/ta/tl noh /S 7l,'c
ttt/rn,or,,;/cr/,1t,/ /hc
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        /9,      An Jrrln Z3/ Zo/2, //acnh/f firuarrhrl           a /ufu /o Joh,tsont rcfMrh'r6: (r) /he
 bcl{s p,.ahttcirnX h,/- lt,, d0ll rni,le 2{ 1,ell 6-gzf          ,n A'l,ousz) (z) nrs iqrttrtv tn1irt,e5
sd{lo,zrl /i5 tt- t/t/(tl        rtu/l il   /Ae yrafuu,/,,' Orlk a'nl (3) hts leyab,t ,'er,,ih,fi; lutc
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       l@, /ravrallq, fle Jawtt /arS fldr^/,{./ /i,ru,,,rlal hrc bo#' ra"otdl nXuul /o t/)uut,ne,ts,
Ha*/1 uil /uyrn ,,,fisrtr?han a,rrl fut,rll ne*nbtrs o{ lte Joh,t Huwtwrl AsSottahov Nerte tsut'rua
6'fo"tr, r.,tlrtth ,nthtilel lvavus,rt6 ihe qdltures,/lrets tunl *peattw6 u,.tllt rn,"Lfrr, A

        Zt,   /); //t,',tlq hu,'71/ Xd/hrg trXh'l', //ar /, {/ Itimmunol/ hrm h tetl Bz{, a^tl {,/t,X
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4lbt,t mtnoy/ twwteS str{feutl rlte /o /t''e bolls; rt"^d l3) hrs ,nnnoil /efrileifu h ALe's/.1,e oo#s
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                         ;/ttualfi
ti{Jrjrrel (ell, aill"a//e,,t tovncetl*t6 h ?n, ,,/ro, /razavrl, Ae ft,torrerl fl,at ll,e bolls wuuU bz
y'emodrl tn /lte neor' rtlune


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r'LvnOu'€il , nm hal           rttt,utr/       d71 ,rsprrsas reXtwrlra7 dt nLt(fi,, Ae /o"ud.r/ct/
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!'huse, ui/ /ot L &rontl lt,nL, //au/,#'oVpr,rrr/ t/a,i/,, ttra/; 7r) /hc bo/ls h/e',c )/,// fi'ufiurl,nr1
/tm /hc gell watl ; (z) /,1, ts ateft tJ ltrl (e//,na/cr /, o,! ,r,rrorrr,11U pti/'/ttrl MtttaV rywvtas v
fr,rv" lhe bolt's; u^/ (J) hu u6r,al holl-- r-st"roval t'eilueJlJ wele bun,,1 rlrst'eywiled.



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                  Case: 1:15-cv-10240 Document #: 7 Filed: 01/29/16 Page 5 of 7 PageID #:34




                      Z€,
                   0n Seplonl:,'r 20, ZCIlZ/ //a*,rt// iuvutr/et/ l,t,oy'Aet bo/t-renorol kllo,t /o
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                      ztt, 0', Atlobp.,t lt)/ Z0lZ/ a,c1dr*t, 1n ttXhl ol net/Lte,/ & /espitu5z ttoy y'cynlt/rtl                             atrt,m
     /e4etltu2 Pla"r/,ff5 boll'terroual Tei,uesfu, l''1 fiNuto.ttle,l A leilet                                  ltnc/lq ta /h,rl,X             uth,tk
     aptuarY 4t,al lt,e Uotls St,ll ltar( ,o+ bn* re,r^ovcri,                                                         U



                      Zv.        An )c/oW        Z{, lDtL, uh,lc Nonly /o,,nrl .B'houu. a*i
                                                                                               ,lalteta / lret erShl-,
     //awl,{/ aslrrl                  ttail\   utng lhc holls t,ail nuol btcn te,rrroycil /esprlo hls p.rrttnrszrk nr/tintS/
     t6ol,tc          lhc      ssue.                                                                                             i
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                      28.        l'lurl"s slalel   ll,d/   he,   at   ,,Let(   a* tvrt rvt fena.vrcL   / aas   /ulln (or\ntza^t o'{ lhe boih
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     bolls oi,t/rl be ruyno,tetl,

                      Zq,
                 0n lvlttrcA ZO, Z0/2, u,th,le px,,ho,r1 /1,,, hp bu"lt lyl, plnn/,{/ /c,tl fotrod
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             on  ht5 r nt*retl
                      rntu"rreti ua', a5 b)ell a5 6tluslie ivtetlrca"l ta,,/rt(,,
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       Case: 1:15-cv-10240 Document #: 7 Filed: 01/29/16 Page 6 of 7 PageID #:35




                            t:ltl^ff o^JE' Hazards,ts f,ondrho"s tt/ Con{rnenut

        l)t/ervla,rts vrolahtl //ao,Af/; ,rrghl to ht freo l'ro"^ fu,uX hzttl rn (t,tsttfc, ciltiithuy s
        whtyc l:t:,eV not owtil
                                  .,nlvot/utt/"t^l /N trtrrtrcste/ l,e ,ulf,llrrfio, o{ hazarrlaus
         t,intirhtuts:mh fla:,uihll s            rctl, Lu\ llso ttrvtscrsuslll a.,rl reyatriltS tl,srtjariai
                                    ,ass,tXtnel
        fiamh(/l m,Trtal /:tl,nt6ts    lo re,nctlX dt nuch ti{tar drstoi*,ng a,,t /*          r,llri,orteliX,r,tr
        the 1*rarlois t oy,l, hor,ts.

        j4,  //a'"1,// reyok a,,:l n-dliejos /hc a/tr6*/taus tmlarntil tn pqal/aphs ont
ttrauSh /h,rl6- lt,rco a< tt rl,tl6 reslilrtl t,ore ,
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        35,     lJarutouance l/lcv,/1 //*novsha/ttl,lavst,tus rilsrcq,u,rr/ rLr tu,nt,tc arrll a/al/
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+he taza,rrlois hcttlattwe, e.g., bolt'eu, {oslertrr5,'s/c,ru    1u,l   h   a,nYt,o,t fheLlr,,n,fu,.e      h llw
u,tail.
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        3t. //a,r/,il, hXe/hr,, ^trfi a k//ua-12, ttas' nuna//n toulr/ k lAc tzttl,Sn rT
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twnple/cfi (eMofttl ai lb yter/he.t Ct,ta./e lc Aazo,rt/tril tttyti/r/tavt tt0r tnfuot/rtto tvr,tlz,r,al
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